Case 1:13-cr-00473-RM Document 85 Filed 11/03/14 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore


Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

               Plaintiff,

v.

1.     GARY SNISKY,

               Defendant.



            ORDER REGARDING CONTINUANCE OF TRIAL SUBPOENAS


       Upon consideration of the Government's oral motion to continue the trial subpoenas that

have previously been served in this matter to the new trial date of March 2, 2015, it is

       ORDERED that the trial subpoenas previously served in this matter are continued to the

new trial date of March 2, 2015, and, as such, any witness who has been served a trial subpoena in

this matter is now ordered to appear for trial on March 2, 2015.

       DATED this 3rd day of November, 2014.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




                                                 1
